Case 2:04-Cv-02075-.]PI\/|-tmp Document 28 Filed 07/25/05 Page 1 of 3 Page|D 38

 

IN THE UNITED sTATEs DIs'rRIcT coURT H"ED BY -~l ` D.c.
FoR THE wF.sTERN DISTRICT oF TENNEssEE 05 J
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sTEPHANIE sIMMoNs, ) CLE§"§<D%§ QSHCTCQ;HT
) *!WEYWPB
Plaintiff/Counter- )
Defendant, )
)
v. )
) 04-2075 Ml/P
ALLSTATE INSURANCE coMPANY, )
)
Defendant/Counter- )
Plaintiff. >
)
ALLSTATE INsURANcE coMPANY, )
)
Petitioner, )
)
v. )
)
sTEPHANIE sIMMoNs and )
WASHINGTON McJTUAL FINANCE )
GRoUP, LLC f/k/a WASHINGTON )
MUTUAL BANK, FA, )
)
Respondents. )
)

 

ORDER FOLLOWING STATUS CONFERENCE
AND
ORDER GRANTING PETITION FOR INTERPLEADER

 

A Status conference in this case was held On July 25, 2005.
Representing Stephanie Simmons at the conference were Linley
Richter and Johnny Rasberry. Representing Defendant Allstate
Insurance Company was David Waldrop. Representing Washington
Mutual Finance Group, LLC f/k/a Washington Mutual Bank, FA was

John Wilson.

Thls document entered on the docket s eat In com§rlance
with Hu|e 58 and/or 79(a) FHCP on 2 ge 1252

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For the reasons stated at the conference, the pending motion
for interpleader of Allstate Insurance Company is GRANTED. As
indicated at the conference, Allstate will promptly pay the
relevant funds to the Clerk of Court.

A status conference is set for Thursdav, Audust 25, 2005. at
9:00 a.m., at which time Washington Mutual will advise how it
will proceed. The Answer of Washington Mutual was due on July 5,
2005. The parties agree that an extension cf time is
appropriate. The time to answer is, therefore, extended to

Monday, August l5, 2005.

So ORDERED this 25th day of July, 2005.

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JON . MCCALLA
UN ED STATES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 28 in
case 2:04-CV-02075 Was distributed by faX, mail, or direct printing on
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Honorable .1 on McCalla
US DISTRICT COURT

